                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             WINSTON-SALEM DIVISION

                                   FILE NO. 1:99CV00764


JEFFREY CLAYTON KANDIES                      )
              Petitioner,                    )
                                             )
            v.                               )              RESPONSE BRIEF
                                             )
GERALD BRANKER, Warden,                      )
Central Prison                               )
Raleigh, North Carolina,                     )
                    Respondent.              )


TO:    THE HONORABLE WALLACE                      W.    DIXON,      UNITED       STATES
       MAGISTRATE JUDGE

       NOW COMES respondent by his counsel, the Honorable Roy Cooper, Attorney General,

and the undersigned Special Deputy Attorney General Edwin W. Welch, respectfully submitting

this Response Brief as authorized by the Court’s Minute Order of 3 September 2010.

       I.        UNDER AEDPA, THIS COURT MAY NOT USE HABEAS
                 REVIEW AS A VEHICLE FOR SECOND-GUESSING
                 REASONABLE DECISIONS OF THE SUPREME COURT
                 OF NORTH CAROLINA (I.E., THE DECISION TO REJECT
                 PETITIONER’S BATSON CLAIM).

       1.        The AEDPA standard of review is well-known to this Court. See Suggs v.

McNeil, 609 F.3d 1218 (11th Cir. 2010), stating the following law applicable to the case at bar.

               The Act imposes a "highly deferential standard for evaluating
       state-court rulings." Woodford v. Visciotti, 537 U.S. 19, 24, 123 S. Ct. 357,
       360, 154 L. Ed. 2d 279 (2002). It requires that we "give[] the benefit of the
       doubt" to the decision of the state court. Id. "More than once the Supreme
       Court has instructed lower federal courts that the statute requires more than mere
       error, and more even than clear error, before federal habeas relief may be issued."
       Rutherford, 385 F.3d at 1307. As the Supreme Court recently reminded, the
       Act "prevents defendants--and federal courts -- from using federal habeas




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        corpus review as a vehicle to second-guess the reasonable decisions of state
        courts." Renico v. Lett, 559 U.S. __, 130 S. Ct. 1855, 1866, 176 L. Ed. 2d 678
        (2010).

609 F.3d at 1227 (emphasis added). See also Watkins v. Thaler, 2010 U.S. Dist. LEXIS 8682 at

*9-10 (N.D. Tex. Jan. 12, 2010)(Under Miller-El, state court findings of fact concerning Batson

claim are entitled to a presumption of correctness; AEDPA barred relief only if Texas Court of

Criminal Appeals’ finding that trial court's rejection of Batson challenges “was not ‘clearly

erroneous’ was itself ‘an unreasonable determination of facts in light of the evidence presented

in the State court proceeding.’ 28 U.S.C. § 2254(d)(2).”; “Because Watkins has not satisfied this

heavy and demanding burden, relief on his Batson claim should be denied.”), recommendation

accepted and habeas petition dismissed, 2010 U.S. Dist. LEXIS 8679 (N.D. Tex. Feb. 1, 2010).

        II.        MILLER-EL II ADDS NO NEW LEGAL REQUIREMENTS
                   AFFECTING THIS COURT’S REVIEW OF THE
                   UNANIMOUS DECISION OF THE SUPREME COURT OF
                   NORTH CAROLINA REJECTING PETITIONER’S
                   BATSON CLAIM.

        2.         MILLER-EL II created no new “Batson law.” See Harden v. Branker, 2009

U.S. Dist. LEXIS 89037 at *5-6 (W.D.N.C. Sept. 9, 2009)(“Snyder, Collins, and Miller-El do not

constitute new law. See Golphin v. Branker, 519 F.3d 168, 186 (4th Cir. 2008) (‘Miller-El did

not alter Batson claims in any way.’).”).

        3.         The mandate of the United States Court of Appeals for the Fourth Circuit

imposed no new “Batson law” requirements on this Court. See United States v. Barnette,

2010 U.S. Dist. LEXIS 50729 (W.D.N.C. May 19, 2010), stating the following law applicable to

the case at bar:

                   The threshold determination for this Court is to interpret the Fourth


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       Circuit's mandate. When the United States Supreme Court granted certiorari,
       vacated the judgment, and remanded Barnette's case to the Fourth Circuit "for
       further consideration in light of Miller-El v. Dretke,"[1] Barnette, 546 U.S. at 803,
       the Court was not taking the position that Miller-El actually affected the outcome
       of United States v. Barnette, 390 F.3d 775 (4th Cir. 2004). See United States v.
       M.C.C. of Florida, Inc., 967 F.2d 1559, 1562 (11th Cir. 1992) (discussing the
       parameters of the mandate when a superior court remands for further
       consideration in light of a new legal decision). Instead, it was instructing the
       Fourth Circuit to make that determination. See id. In turn, the Fourth Circuit
       turned that task over to this Court when it remanded Barnette's case "for further
       consideration in light of Miller-El . . . ."[2] United States .v. Barnette, No. 02-20,
       2007 U.S. App. LEXIS 30617 (4th Cir. filed Aug. 28, 2007). Therefore, the
       mandate is limited in nature. See M.C.C. of Florida, Inc., 967 F.2d at 1562. It
       does not require the Court to nullify all prior proceedings. See id. It merely
       requires the Court to reconsider its opinion with respect to whether Barnette
       proved purposeful discrimination at his Batson hearing in light of the law set
       forth in Miller-El. See id. Consequently, this Court is free to retain any or
       all of its prior findings of fact and conclusions of law with respect to
       Barnette's Batson claim that, upon reconsideration, it determines to be
       unaffected by Miller-El. [] See id.

               . . . .

       Moreover, although the Supreme Court considered a variety of evidence in finding
       purposeful discrimination in Miller-El's case, Miller-El itself did not change the
       nature, quantity, or quality of the evidence that a trial court may consider
       when assessing the plausibility of a prosecutor's explanations for his
       peremptory strikes under Batson. In other words, it did not announce new
       law; it merely applied existing law under Batson to the facts of the case
       before it. See Golphin v. Branker, 519 F.3d 168, 186 (4th Cir. 2008)
       ("Miller-El did not alter Batson claims in any way."); Murphy v. Dretke, 416
       F.3d 427, 439 (5th Cir. 2005) (explaining that "[t]he Court did not announce any
       new elements or criteria for determining a Batson claim, but rather made a final
       factual and evidentiary determination of that particular petitioner's Batson claim").
       While Miller-El retained Batson's requirement that the trial judge assess the
       plausibility of the prosecutor's explanation for striking a juror "in light of all of the
       evidence with a bearing on it[]," Miller-El, 545 U.S. at 252 (citing Batson, 476


       1
         As this Court knows, this is the same thing the United States Supreme Court did with
Petitioner Kandies’ petition for writ of certiorari.
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          Again, as this Court knows, this is the same thing the United States Court of Appeals
for the Fourth Circuit did in Petitioner Kandies’ case.

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       U.S. at 96-97), it did not shift the burden from the defendant to prove
       purposeful discrimination, see Collins, 546 U.S. at 338.

2010 U.S. Dist. LEXIS 50729 at *18-26 (emphasis added).

       III.    MATTERS OF RECORD SHOW MANY FACTUAL
               DISTINCTIONS BETWEEN MILLER-EL II AND KANDIES
               THAT DEBUNK PETITIONER’S ASSERTIONS THAT
               MILLER-EL II SHOWS THE SUPREME COURT OF
               NORTH CAROLINA UNREASONABLY REJECTED HIS
               BATSON CLAIMS.

       4.      Dispositive factual distinctions between Miller-El II and the case at bar

(“Kandies”) are shown by matters of record (e.g., deposition testimony, affidavits, and the

trial transcript).

       a.      The following statement in Golphin quotes Miller-El II’s comments focused on

unacceptable practices of the Texas prosecutor that were not practices of the North Carolina

District Attorney in Kandies:

               [M]ost importantly, the Court relied heavily on "broader patterns of
       practice during the jury selection." Id. at 253. The prosecution had used the
       technique of a "jury shuffle" to move black venirepersons to the back of the
       venire panel; read a "graphic script" of the death penalty to black venire
       members in order to get them to equivocate on the death penalty; [Footnote 9
       omitted] and used "trickery" in the form of questions about mandatory
       minimum sentencing for first degree murder. [Footnote 10: The trick question
       worked in the following manner. The prosecution would ask a juror what he/she
       believed should be the mandatory minimum sentence for murder. It first told
       some jurors that Texas law provided a minimum of five years. For other jurors,
       the prosecution would not mention the five-year minimum. If a juror then offered
       a term above five years, the prosecution would move to strike that juror for cause.
       Miller-El II, 545 U.S. at 261. The State conceded that this tactic was used to
       trick jurors and create cause to strike. Id.] Id. at 253-63. The Court found that
       53% of black jurors received the graphic script, while only 6% of white jurors
       received it. Id. at 255-56. As for the trickery, 27% of nonblacks who indicated
       skepticism about the death penalty received the "trick" question, while 100% of
       black jurors hesitant about the death penalty were asked the trick question. Id. at
       264. Importantly, the State never "denied that disparate lines of questioning

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       were pursued." Id. at 265. The Court then arrived at its final piece of evidence:

               There is a final body of evidence that confirms this conclusion. We
               know that for decades leading up to the time this case was tried
               prosecutors in the Dallas County office had followed a specific
               policy of systemically excluding blacks from juries.

       Id. at 263.

519 F.3d at 185 (emphasis added). Accord Murray v. Schriro, 2008 U.S. Dist. LEXIS 52516 (D.

Ariz. May 30, 2008)(death penalty decision rejecting allegation that trial court improperly denied

Batson motion), stating following comments equally applicable to the case at bar:

              The factual circumstances of the present case are much less drastic than
       those present in cases like Miller-El and Kesser. In Miller-El, there was evidence
       of jury shuffling, which placed white jurors ahead of African-American jurors,
       and disparate questions regarding the ethnicity of the prospective juror.
       Miller-El II, 545 U.S. at 253-263. There was also evidence that a general
       prosecutorial policy existed by which African-Americans were not to be
       seated on juries. Id. at 253. These circumstances did not exist in Petitioner's
       case.

2008 U.S. Dist. LEXIS 52516 at *55-56 (emphasis added).

       b.      The following quotation from Miller-El v. Dretke, 545 U.S. 231, 125 S. Ct. 2317,

162 L. Ed. 2d 196 (2005), shows the existence of inappropriate policies in the Dallas District

Attorney’s office that have never been present in North Carolina District Attorney Yates’ office:

               There is a final body of evidence that confirms this conclusion. We
       know that for decades leading up to the time this case was tried prosecutors
       in the Dallas County office had followed a specific policy of systematically
       excluding blacks from juries, as we explained the last time the case was here.
       "Although most of the witnesses [presented at the Swain hearing in 1986] denied
       the existence of a systematic policy to exclude African-Americans, others
       disagreed. A Dallas County district judge testified that, when he had served
       in the District Attorney's Office from the late-1950's to early-1960's, his
       superior warned him that he would be fired if he permitted any
       African-Americans to serve on a jury. Similarly, another Dallas County
       district judge and former assistant district attorney from 1976 to 1978


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       testified that he believed the office had a systematic policy of excluding
       African-Americans from juries.

              "Of more importance, the defense presented evidence that the District
       Attorney's Office had adopted a formal policy to exclude minorities from
       jury service. . . . A manual entitled 'Jury Selection in a Criminal Case'
       [sometimes known as the Sparling Manual] was distributed to prosecutors.
       It contained an article authored by a former prosecutor (and later a judge)
       under the direction of his superiors in the District Attorney's Office,
       outlining the reasoning for excluding minorities from jury service. Although
       the manual was written in 1968, it remained in circulation until 1976, if not later,
       and was available at least to one of the prosecutors in Miller-El's trial." Miller-El
       v. Cockrell, 537 U.S., at 334-335, 154 L. Ed. 2d 931, 123 S. Ct. 1029. [Footnote
       37 omitted].

545 U.S. at 263-64, 125 S. Ct. at 2338-39, 162 L. Ed. 2d at 228-29 (emphasis added).

       5.      Un-controverted deposition testimony and affidavits of officers of the Court

unequivocally show that the unacceptable practices in the Dallas District Attorney’s Office

were not present in District Attorney Yates’ office when defendant was tried.

       a.      Unlike the Dallas District Attorney, District Attorney Yates did not give his

assistant district attorneys “any training on jury selection” or “training in the office about Batson

and how to deal with Batson.” Gregson Dep. T, p. 46. More specifically, he has not “at any

time” given “any classes to ... members of [his] staff intended to teach them how to exclude

potential jurors based upon their race.” Gregson Dep. T, p. 52. District Attorney Yates, in all the

years he has been the District Attorney, has never given “any training for staff attorneys on jury

selection techniques or skills or the law covering selection”. Yates Dep. T, p. 49. This type of

training is generally done by the Conference of District Attorneys. Accord Yates Affidavit of 14

May 2007 answering Interrogatory No. 3 (Doc 69, p. 9)(He did not provide “training and

instruction, formal or informal, either written, oral, or by electronic means regarding jury



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selection to the attorneys in his office.”).

        b.        Unlike the Dallas District Attorney, District Attorney Yates has not published “at

any time a handbook containing suggested methods of excluding potential jurors based upon

their race.” Gregson Dep. T, p. 52. Accord, Yates Dep. T, p. 69.

        c.        During Petitioner’s trial, District Attorney Yates did not say anything that

“manifested an intention to exclude potential black jurors based upon their race,” Gregson Dep.

T, pp. 51-52. Furthermore, he has “never” said anything that manifested such an intention. Id.

        d.        Assistant District Attorney Gregson has witnessed District Attorney Yates “accept

and seat numerous minority jurors in [many] capital cases.” Gregson Dep. T, p. 53. N.B.,

Assistant District Attorney Gregson has affirmatively asserted:

                I have extensive experience prosecuting cases with Mr. Yates and
        witnessing him select juries. I have prosecuted approximately fifteen jury trials
        with Mr. Yates and at least ten of those trials were capital murder cases. I have
        never seen any evidence nor heard Mr. Yates even hint at considering a
        juror’s race as a actor in either selecting or striking a juror. In my
        experience, Mr. Yates has been entirely appropriate in his consideration of a
        juror’s fitness to serve, legally and ethically. Furthermore, I have personally
        witnessed him accept and seat numerous minority jurors in capital cases.

Gregson Affidavit dated 26 June 2007 (Doc 7-2)(emphasis added).

        e.        Neither District Attorney Yates nor former Assistant District Attorney Elizabeth

Toomes “ever presented lectures or speeches, or written articles or papers regarding jury

selection in criminal cases.” Yates Affidavit of 14 May 2007 answering Interrogatory No. 2

(Doc 69, p. 9).

        6.        Unlike in Miller-El II, no testimony has been offered or proffered by any

current or past member of District Attorney Yates’ office showing that District Attorney



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Yates had a plan to exclude potential jurors from juries based on their race.

       a.         Indeed, officers of the Court have made sworn statements under oath that

affirmatively deny the existence of any such unacceptable animus. E.g., in addition to sworn

statements of Assistant District Attorney Gregson affirmatively asserting that District Attorney

Yates never said anything manifesting an intent to excuse any potential jurors based on their race,

please see the 27 Feb 2008 Affidavit of former Assistant District Attorney Elizabeth M. Toomes

(Doc 83-3), stating:

               I was also aware that the Batson challenge had been made. Consequently,
       I carefully watched and listened to District Attorney Yates both at trial and during
       my discussions with him during the trial. I neither heard in comments nor saw in
       his actions anything manifesting a desire to challenge any juror based on their
       race. Either in the aforementioned trial or in the office, I have never known
       him to express or otherwise manifest a desire to challenge a juror based on
       the juror’s race.

(Emphasis added).

       b.         Importantly, please see Doc. 105 in the Court’s files (United States Magistrate

Judge Russell A. Eliason’s Order of 29 January 2008)(N.B., pp. 4-8), hereby incorporated by

reference, which notes the following, inter alia:

       (1)        [T]he Court is informed that Petitioner does not desire to take the
                  deposition of Petitioner’s trial counsel. Therefore, the Court deems
                  that any issue concerning the conclusion claim that the state
                  prosecutor, Mr. Yates, had never selected a black juror has become
                  moot and will not be further considered as a ground for relief.”

Doc. 105, p. 4.

       (2)        [T]he trial records with respect to the jury selection process are no
                  longer extant and, therefore, the matter of whether the records were
                  used in a discriminatory manner cannot be further pursued. While
                  Petitioner argues that the Court should take this as some evidence
                  that Mr. Yates used them for a discriminatory reason, the Court


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                  cannot find that the absence of evidence would necessarily lead
                  one to that conclusion. Moreover, it is not entirely clear that
                  discovery should have been permitted on that issue in the first
                  instance. Nothing in the trial court record indicates a suspicion or
                  implausibility concerning the use of the records as a basis for the
                  peremptory challenge.

Doc. 105, p. 5.

       (3)        [I]t also appears in the record that Yates received some information
                  from the High Point Police Department which indicated that some
                  individuals, and perhaps the two in question, would not make good
                  jurors. ... [T]his might corroborated a finding that discriminatory
                  intent was not the basis of the district attorney’s decision.

Doc. 105, p. 7.

       (4)        Respondent ... shows that unlike in Snyder, the trial judge here
                  accepted the additional non-suspect reasons for the peremptory
                  challenges, and therefore, as in ] Golphin, Petitioner has failed to
                  show that the state court’s determination of the issue was contrary
                  to, or an unreasonable application of, clearly established federal
                  law as determined by the Supreme Court.

Doc. 105, p. 8.

       IV.        THIS COURT, THE UNITED STATES COURT OF
                  APPEALS FOR THE FOURTH CIRCUIT, AND THE
                  SUPREME COURT OF NORTH CAROLINA HAVE
                  ALREADY CAREFULLY EXAMINED RELEVANT VOIR
                  DIRE AND BATSON CLAIMS AND ISSUED THOROUGH
                  DECISIONS ARTICULATING SOUND REASONS FOR
                  REJECTING PETITIONER’S BATSON CLAIMS.

       7.         The aforementioned experienced courts have carefully examined and

rationally rejected Petitioner’s Batson claim after reviewing a proverbial mountain of

information of record.

       a.         Rather than redundantly repeating for the busy Court the extended legal and

factual analysis, please see the discussion of Batson claims in Kandies v. Polk, 385 F.3d 457 (4th


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Cir. 2004)3, Kandies v. Lee, 252 F. Supp. 2d 252, 2000 U.S. Dist. LEXIS 22379 (14 December

2000), Kandies v. Lee, 252 F. Supp. 2d 252, 2003 U.S. Dist. LEXIS 4536 (2003)(M.D.N.C., 4

March 2003), State v. Kandies, 350 N.C. 843, 539 S.E.2d 640 (1999).

       b.      Please also consider all briefs, answers, responses, etc., previously submitted to

this Court that discuss Petitioner’s Batson claim - - all hereby incorporated by reference. E.g.,

see Doc. 96, pp. 5-7 (discussion and quotation of District Attorney Yates’ and Assistant District

Attorney Gregson’s key deposition testimony); Doc. 96, pp. 9-12 (the law concerning requests

for copies of criminal records of prospective jurors); Doc. 96, pp. 12-14 (Assistant District

Attorney Gregson’s sound reasons for challenging a black minister in another case, i.e., State v.

Trull); Doc. 96, pp. 14-15 (not unreasonable explanation of reasons for not being able to produce

various documents and information concerning the effect of District Attorney Yates’ vehicle

accident); Doc. 96, pp. 16-19 (Assistant District Attorney Gregson’s and Detective Mark B.

McNeill’s not unreasonable discussion of the value of discussing with police officers information

they may know concerning potential jurors); Doc. 96, pp. 19-20 (information concerning

percentage of minorities in Randolph County); Doc. 96, pp. 21-24 (Snyder distinguished); Doc.

100, pp. 1-4 (quotations of relevant commentary by District Attorney Yates and Assistant District

Attorneys Gregson and Toomes and significant findings of the trial court concerning the

challenges to potential jurors Rawlinson and McClure); Doc. 100, pp. 4-11 (distinguishing

Snyder, noting that it is not a dispositive case that should be considered when evaluating the

challenges to potential jurors Rawlinson and McClure).



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        N.B., the extensive discussion of jurors at 385 F.3d at 473-79 and the discussion at
385 F.3d at 495-96.

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       c.      Considering the content of these decisions and other matters, the absence of any

clear and convincing newly surfaced evidence showing Batson error, and other matters presented

to this Court since the case was remanded to the Court, it is clear the Batson claims have been

carefully reviewed and unanimously correctly rejected by the trial court, the Justices of the

Supreme Court of North Carolina, and members of the federal judiciary identified in the

aforementioned decisions - - and that nothing in Miller-El II shows that these respected jurists

were all wrong.

       V.      JUDGE TRAXLER’S CONCURRING OPINION IN
               KANDIES CORRECTLY ASSESSED AND REJECTED
               PETITIONER’S ASSERTIONS THAT THE STATE
               SHOULD NOT BE PERMITTED TO JUSTIFY A STRIKE
               (E.G., THE STRIKE OF PROSPECTIVE JUROR
               RANDLEMAN) WITH INFORMATION NOT IN THE
               RECORD. SEE KANDIES, 385 F.3D AT 495-96.

       8.      The State's reliance on Randleman's criminal history was a perfectly

appropriate race-neutral reason for exercising a peremptory challenge. Judge Traxler

correctly addressed this Court’s concerns as follows:

               Randleman's juror information form indicated that she had not been
       convicted of a crime when, in truth, the State's record check listed convictions for
       writing bad checks and committing speeding violations. Unquestionably, a
       prospective juror's criminal record alone, even if there was no failure to disclose,
       is race-neutral on its face. See Matthews, 105 F.3d at 917-18. Kandies has not
       shown that any of the prospective Caucasian jurors he believes held similar views
       on the death penalty had a criminal record or, if so, failed to disclose it. I see no
       clear and convincing evidence that the State struck Randleman based on race.

               Kandies counters that because the prosecutor did not introduce
       evidence of Randleman's criminal history, the basis articulated by the State
       was not supported by the record and cannot serve as justification for a
       peremptory strike. This argument, in my view, bungles Batson's analytical
       framework. It implies that the State, in coming forward with its race-neutral
       justification at the second stage of Batson, bears some evidentiary burden.


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       [Footnote 4 omitted] That is not accurate. The State's burden at that stage is
       merely to articulate a facially neutral reason for having exercised a peremptory
       strike. The prosecutor, in other words, simply must come up with a reason "based
       on something other than the race of the juror." Hernandez, 500 U.S. at 360. This
       is not a tall order, given that "the second step of this process does not demand an
       explanation that is persuasive or even plausible. " Purkett, 514 U.S. at 767-68. As
       long as the State comes up with a reason -- anything other than a mere denial of
       discriminatory intent -- it has done all that is required at the second stage. See id.
       at 769. Whether the trial court believes the reason actually motivated the
       prosecutor is a question that must be answered at the third stage of the Batson
       analysis, and even then it is the opponent of the strike who shoulders the burden
       of proof. See id. at 768. Thus, the State's reliance on Randleman's criminal
       history was a perfectly appropriate race-neutral reason for exercising a peremptory
       challenge, and it was Kandies, not the State, who was required to demonstrate
       otherwise. Kandies has not produced any clear and convincing evidence to rebut
       the state court's factual determination in this regard.

385 F.3d at 495-96 (emphasis added).

       9.      The Supreme Court of North Carolina not unreasonably rejected Petitioner’s

assertion that “the trial court erred in denying his motion to require the State to produce

copies of criminal records of prospective jurors.”

       a.      The Supreme Court of North Carolina stated then existing law as follows:

               [T]here is no statutory requirement that a prosecutor must reveal
       juror information in his possession. Section 15A-903 of the North Carolina
       General Statutes describes types of information obtained by the State that may be
       subject to disclosure. No mention is made of criminal records of prospective
       jurors. N.C.G.S. § 15A-904 pertains to information not subject to disclosure; it
       provides in pertinent part that except as otherwise required by N.C.G.S. §
       15A-903, production of reports, memoranda, or other internal documents made by
       the State or persons acting in its behalf in connection with the prosecution of the
       case is not required. Where a statute expressly restricts discovery, as does
       N.C.G.S. § 15A-904(a), the trial court has no authority to order discovery. State
       v. Hardy, 293 N.C. 105, 125, 235 S.E.2d 828, 840 (1977).

                Further, the district attorney is an officer of the court and, as such, is sworn
       to represent the State honestly and to the best of his ability. Absent evidence to
       the contrary, it is not unreasonable for the trial court to assume that the prosecutor
       is telling the truth with regard to the criminal records of prospective jurors.


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               Finally, once the prosecutor has articulated a nonracial explanation
       for each challenged peremptory strike, the burden shifts to the defendant to
       introduce evidence that the State's reasons are a pretext. Robinson, 330 N.C.
       at 16, 409 S.E.2d at 296. Thus, the ultimate burden of rebutting the State's
       representations and proving purposeful discrimination lies with the defendant.
       Defendant had sufficient opportunity to produce evidence that the prospective
       jurors in question did not have criminal records. He could have obtained a record
       check himself or secured a court order requiring production of these documents.
       There were resources available to defendant to rebut the State's explanations, and
       he chose not to utilize them.

              Absent authority mandating that the trial court allow defendant to
       discover these documents and absent any evidence produced by defendant
       questioning the validity of the prosecutor's representations, it cannot be said
       that the trial court abused its discretion in denying defendant's motion.

342 N.C. at 437-38, 467 S.E.2d at 77 (emphasis added).

       b.      Petitioner has failed to cite to the Court any decision of the Supreme Court of the

United States holding that the trial court committed federal constitutional error by denying

Petitioner’s motion to require the State to produce copies of criminal records of prospective

jurors. No such holding exists. Furthermore, when Petitioner was tried, no statute mandated

disclosure of such information. See Brown v. State, 982 So. 2d 565, 585-86 (Ala. Crim. App.

2006)(rejecting a similar argument, surveying current law concerning such requests by trial

counsel, and stating, inter alia that the “State has no duty to disclose information concerning

prospective jurors,” “[s]everal jurisdictions have similarly held,” and “the state has no duty to

disclose information that is available to the appellant from another source.”), cert. denied, 128 S.

Ct. 1893, 170 L. Ed. 2d 763 (2008).

       c.      Please consider information and argument provided the Court in the State’s

Motion to Expand the Record filed 5 March 2008 (Doc 83, presenting Docs 83-2 to 83-4, hereby

incorporated by reference), i.e., affidavits and records showing that Ms. Randleman did not


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correctly report prior convictions discovered by the prosecutors, and that District Attorney Yates

had a good faith basis for his peremptory challenge of Ms. Randleman unrelated to her race.

       VI.     CONSIDERABLE INFORMATION PROVIDED BY
               DISTRICT ATTORNEY YATES AND ASSISTANT
               DISTRICT ATTORNEY GREGSON SHOWS THAT THE
               STATE’S PEREMPTORY CHALLENGE OF A BLACK
               MINISTER IN STATE v. GARY ALLEN TRULL WAS
               BASED ON FACTORS UNRELATED TO HIS RACE.

       10.     Assistant District Attorney Gregson has provided a reasonable explanation

for the State’s peremptory challenge of the minister, an alternate juror in Trull. When

deposed, he stating the following under oath in response to Petitioner’s counsel’s questions:

                What I recall is that the facts on Trull were very important. Mr. Trull had
       received a life sentence for raping -- a very brutal rape over in Guilford County.
       He was paroled, and he either married the girl or -- while he was still in prison or
       soon as he got out, who was involved in prison ministry. And they were
       instrumental in getting him released. Well, the victim had moved out from her
       parents' home a few weeks before. She ended up living beside Mr. Trull,
       unbeknownst. Mr. Trull kidnapped her, took her into the woods, tied her to a tree,
       raped her, and cut her throat. And it was one of the first cases that was pretty
       much DNA. And back then DNA took about a year -- well, took six months or
       something. Well, her father wanted to kill Trull. We knew -- we knew it was
       Trull. And he was out. He was never arrested until we got the DNA results back.
       And it was one of the most difficult times I've ever had in my whole prosecution.
       I had Mr. Dixon, the victim's father, calling me at night. He would call me
       close to midnight, crying and threatening Mr. Trull. And -- and we literally
       had officers watching Mr. Dixon so he wouldn't kill Mr. Trull before we got
       -- got him charged. And so when the juror came up and was involved -- the juror
       in the question is -- was involved in prison ministry -- Mr. Dixon was sitting
       behind us, and they were passing us notes the whole time that I was in there
       for jury selection. And there was no way we were going to seat somebody
       involved in prison ministry. He basically blamed prison ministry for his
       daughter's death. [The victim’s father] was very bitter and very angry. He
       felt like they got a man out who was sentenced to life. And I'm telling you, we
       worried that he was going to kill Trull in the courtroom. He actually made
       threats: "If he doesn't get the death penalty, he's going to get it." And -- and we
       had no security; we had no -- we were wanding everybody with -- with the
       old-style, hand-held metal detectors, which I don't know that had ever been done


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          in Randolph County. But it was a very bad situation with Mr. Dixon. And -- and
          I remember Garland saying to me, "If we pick this juror, Mr. Dixon's going to kill
          us," or words to that effect, because he was very bitter. Which, I mean -- and I'm
          not -- I -- I don't want this to -- you know, I know this is going into the record. I'm
          not slamming Mr. Dixon at all. I mean, his daughter -- if it had not been for his
          younger daughter still being alive, I think he would have done something drastic
          to himself or to Mr. Trull. So it was a -- it was a very volatile situation, and -- and
          Mr. Dixon latched onto me. I was kind of like the liaison between the family for
          the whole trial, so he would call me many times at night, many times -- during the
          trial, after the trial, before the trial -- would call me -- I mean, and we would talk
          on the phone at 12 o'clock at night or one o'clock in the morning for an hour
          sometimes. So yeah, I remember it. I remember us really struggling because
          the guy didn't seem too strong on the death penalty, and the prison ministry
          -- the guy was a minister in prison ministry.

                 . . . .

          [And] Garland really felt he was not a strong juror. He was an alternate, I think.
          So it wasn't that big a deal. I remember Garland saying, "You know, I don't want
          to go to the mat on this, but if we don't object to him, Mr. Dixon is going to -- not
          kill us, but he's going to have our head." Because Mr. Dixon was sending us
          notes. And I remember a note: "Prison ministry." I remember that. I
          remember the Dixon family handing a note up. I mean, they were furious. And
          -- and so yeah, I remember it. That was the discussion.

Gregson Depo. T, pp. 40-47 (Summary of testimony, with some questions omitted; emphasis

added).

          11.    District Attorney Yates also addressed the Trull case in his affidavit that is

before the Court (Doc. 69, pp 5-6) and when being deposed (see Yates Depo. T, pp. 51-58).

E.g., he pointed out that the defendant/killer in Trull was living next to the victim as a parolee

sponsored by a church, and that the emotionally distressed and potentially dangerous victim’s

father was strongly opposed to a minister being on the jury. N.B., nothing presented to this

Court by Petitioner counters the aforementioned reasonable explanations for District Attorney

Yate’s peremptory challenge that was intended - - for reasons unrelated to race - - to prevent the



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minister from sitting as a juror in the Trull case.

        VII.    DISTRICT ATTORNEY YATES AND ASSISTANT
                DISTRICT ATTORNEY GREGSON HAVE FULLY
                EXPLAINED THE REASONS WHY THE DISTRICT
                ATTORNEY’S FILES DO NOT NOW INCLUDE EVERY
                NOTE OR PIECE OF PAPER USED DURING THE 1992
                JURY SELECTION PROCESS AT PETITIONER’S TRIAL.

        12.     The reasons for the State’s inability to either produce or perfectly re-

construct files, notes, and documents that might have existed approximately 1 ½ decades

ago are not hard to understand. The reasons include: (a) the trial was in High Point, which

meant that District Attorney Yates, whose office was in Asheboro, basically worked out of his

car and kept files in his car, (b) District Attorney Yates has moved his office two or three times

since Petitioner’s trial, and, with the passage of time, some documents have been destroyed, (c)

at the time of Petitioner’s trial, there was no requirement to maintain all the documents, notes,

etc., (d) at the time of Petitioner’s trial, District Attorney Yates’ office did not maintain either an

inventory or log of all the contents of a capital case file, and, (e) at the time of Petitioner’s trial,

there was no one person responsible for keeping and organizing case files, albeit, whoever was

assisting District Attorney Yates normally had the responsibility for maintaining the case file.

See Gregson Dep. T, pp. 36-39, and 57-60; Yates’ Dep. T, pp. 30-32; Yates’ affidavit dated 9

July 2007 (Doc 74-2).

        VIII. DISTRICT ATTORNEY YATES HAS EXPLAINED THE
              REASONS WHY HE CAN NOT CLEARLY RECALL SOME
              INFORMATION HE KNEW WHEN PETITIONER WAS
              TRIED APPROXIMATELY 15 YEARS AGO.

        13.     District Attorney Yates’ explanation is clearly understandable and

reasonable.     He has stated, inter alia:


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                I couldn't honestly remember anything 15 years ago, so reading it didn't
        help much. But I looked through the case, and I assume what I said then was
        correct, because I can't -- after my automobile accident [in August 2006],
        there's a lot of things I don't necessarily remember exactly what happened. I
        remember we went to High Point and we tried the case, and that's about it.

               . . . .

        But I meant 15 years ago I don't remember, and the accident didn't help me,
        certainly, on that, either. So, I mean, I -- I can -- I'm not sure that it's
        affected as far as -- there's no diagnosis I -- I can't remember anything; it
        just remembers that at some times -- I guess getting older, it makes it a little
        more difficult to remember anything, anyway; but -- no, but, as far as -- that
        didn't have anything to do with it. I -- there was a -- there's a couple-week period
        where I don't necessarily remember what I said or did at that point. But that was
        because I was in the hospital, so -- and, you know, I guess maybe -- I'm not sure
        I'd have perfect memory of 15 years ago even if I hadn't had the accident.

Yates Depo. T, pp. 6-9 (emphasis added). He has confirmed in his affidavits now before this

Court that the information he has provided is true to the best of his knowledge and belief. Yates

Depo. T, p. 71.

        IX.    DISTRICT ATTORNEY YATES, ASSISTANT DISTRICT
               ATTORNEY GREGSON, AND FORMER DETECTIVE
               MCNEILL HAVE FULLY EXPLAINED THE LEGITIMATE
               REASONS FOR ASSISTANT DISTRICT ATTORNEY
               GREGSON CONTACTING THE HIGH POINT POLICE
               DEPARTMENT IN 1994. PETITIONER HAS NOT – AND
               CANNOT – SHOW THAT HIS CONSTITUTIONAL
               RIGHTS WERE VIOLATED BY THE EFFORTS TO
               OBTAIN INFORMATION ABOUT POTENTIAL JURORS.

        14.    Assistant District Attorney Gregson has provided a logical explanation for

his contacting officers he knew well at the High Point Police Department. He has stated,

inter alia:

               My recollection is that I took the list of potential jurors to the High Point
        Police Department and dropped it off with somebody. I think I spoke to Mark
        McNeill. It’s logical that I would have taken it there because, when I was a police


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          attorney there, I primarily dealt with them and the vice unit because they're the
          ones with the most day-to-day legal issues. The persons crime unit at that time
          was comprised of four or five detectives who were the old lions in the
          department. They were the guys who had done everything. They'd been in
          the various units, they'd been on the street, and they knew everybody. I had
          almost daily contact with them. Now, I don't recall handing it to them, but it's
          logical that I would either have given it to them or to Captain Lester Fortune, the
          internal affairs captain who was like the troubleshooter. He and I worked very
          closely together. Captain Fortune was then a long-time officer who lived in the
          High Point area and knew a lot of people in that area. So it would have been
          somebody in either the persons unit or Captain Fortune. I would say that between
          four and six officers were in that unit. I recall that officers in the unit included
          Mark McNeill, Jerry Grubbs - - , who's retired, and Kim Soban, who is retired. I
          know there were a couple of others. I think Nick Nicholson -- whom I think is
          dead - - was also in that unit. I think he was a supervisor. I think there was
          another one, but I can't recall who it was. At this point in time, I do not recall who
          I gave this list to. I do not recall specifically what I asked them to do with the list
          of jurors, but I know what I would have done based on what District Attorney
          Yates told me to do, which was to basically see if they knew anybody on the
          list "good or bad." For example, I would have been interested in knowing if a
          potential juror had a family member who'd been prosecuted or had a bad
          relationship with the police for some reason, or was a victim of a crime.
          That's the kind of information I expected these officers to potentially have
          about jurors from High Point. I would not have expected those officers to have
          had any other information about jurors. I was mainly looking for involvements of
          potential jurors from the standpoint of the State getting a fair jury. I did no further
          research on potential jurors yourself, such as doing a criminal record checks or
          traffic check or anything of that nature. I assume that I personally got the list back
          at some point. I assume they called me, and that I probably drove over there
          before I came into work one day, since I live up that way in Sophia, and got the
          list.

                  I remember looking at the list after I got it back and thinking to myself,
          "Wow, that -- that wasn't very helpful." There was a few marks on the list.
          However, I did not read any of the marks. I remember thinking, "Well" -- you
          know. And District Attorney Yates had told me he didn't think he would get a lot.
          But it was just -- it wasn't a big deal. It was just one of those things, "Let's do it
          and see what we get.” I [did] not [have] any discussions with anybody in the High
          Point police about specific jurors that I can recall. I wouldn't have known them.

Gregson Depo. T, pp. 9-19 (Summary of testimony, with some questions omitted; emphasis

added).


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       15.     At his deposition, former Detective Mark B. McNeill gave testimony clearly

showing the reasonable justification for asking High Point police officers in his section

about their knowledge of potential jurors. More specifically, his uncontradicted testimony

shows the following concerning officers in the persons crime unit: (a) they were the most

experience officers in the city in terms of violent crimes investigation, (b) they might have had

helpful knowledge of matters concerning potential jurors because they had the opportunity to

meet more people in High Point than the average officer because of their investigative efforts and

arrests of people in that area, (c) they might have relevant knowledge about potential jurors that

was not based on matters of record or criminal convictions, e.g., information based on knowledge

acquired from certain family members, girlfriends of people arrested, or information concerning

people not known by name but known by where they live, and, (d) they would frequently know

information about members of the community who had been involved in criminal activity but

had not been arrested. See McNeill Depo. T, pp. 15-17.

       16.     A prosecutor may properly ask experienced law enforcement officers with

considerable knowledge about members of the community for comments about potential

jurors. No decision of the United States Supreme Court holds that a defendant’s federal

constitutional rights have been violated whenever a prosecutor requests that law enforcement

officers review a list of potential jurors and provide information or comments regarding the

wisdom of having one or more persons on the list seated as jurors in a capital case. Furthermore,

case law conveys the message that a prosecutor may request assistance of law enforcement

officers when reviewing lists of potential jurors. E.g., see Williams v. State, 271 Ga. 323, 519

S.E.2d 232 (1999), stating:


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                  Williams contends the trial court violated the spirit of Batson v.
          Kentucky, 476 U.S. 79 (106 S. Ct. 1712, 90 L. Ed. 2d 69) (1986), in denying
          his request to question the assistant district attorney and law enforcement
          officers about investigatory information upon which the State based its
          strikes. The ultimate burden of persuasion regarding racial motivation of
          peremptory strikes rests with and never shifts from the opponent of the strike.
          Purkett v. Elem, 514 U.S. 765 (115 S. Ct. 1769, 1771, 131 L. Ed. 2d 834) (1995).
          Therefore, in order to prevail on his Batson challenge, Williams had the burden of
          proving that the State engaged in purposeful discrimination in the exercise of its
          peremptory strikes. Batson does not require and Williams offers no authority
          to support his proposition that in order to bolster his prima facie case of
          discrimination Williams was entitled to formally interrogate the prosecutor
          or law enforcement officers as to their method of investigating potential
          jurors or information gleaned from such investigation in order to discover
          directly the information obtained by the State in preparing for its jury
          selection. We decline to so hold here.

271 Ga. at 324, 519 S.E.2d at 233 (emphasis added). At the bottom line, there is nothing illegal,

improper, or unreasonable about a prosecutor asking experienced law enforcement officers with

considerable knowledge about members of the community for comments about potential jurors.

Indeed, the State submits that such action shows good initiative and sound judgment, an

argument that may be fully supported by a number of hypothetical situations. E.g., one of the

detectives might know that “potential juror X” was involved in on-going criminal enterprise

being covertly investigated by the detective and that “potential juror X” had not previously been

convicted of a crime that would be disclosed by a traditional records check.

          X.     DISTRICT ATTORNEY YATES HAS CORRECTLY
                 EXPLAINED THAT THE ABSENCE OF A LARGE
                 PERCENTAGE OF BLACK JURORS ON CASES IN
                 RANDOLPH COUNTY WAS ATTRIBUTED TO THE FACT
                 THAT THERE WAS ONLY ABOUT “FIVE PERCENT
                 MINORITIES” IN THE COUNTY.

          17.    The relatively small number of black citizens in Randolph County is no state

secret.


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       a.         When asked at his deposition about trial counsel stating that he “had a history of

not accepting African-American jurors,” District Attorney Yates replied as follows:

                The problem is -- is in Randolph County we have, like, five percent -- or
       at the time we had five percent minorities, and we don't get a whole lot of -- I
       mean, you know, we just don't get -- we may have 30 jurors out of -- out of 70,
       and we'll have one minority, and they may or may not get called. I mean, it's not
       -- it's not an intent not to select them; it's just that we don't -- you know, we're --
       we're the size county, and that's the -- we get a lot of -- lot of Quaker jurors who
       don't believe in the death penalty, either. So, I mean, it's just sort of a -- I don't
       know exactly why Randolph County is constituted the way it is. It just is.

              [When counsel stated, “[t]he record -- the transcript reflects that you didn't
       respond to defense counsel's claim that you would strike minority jurors. Do you
       recall why you would not have responded to that?” District Attorney Yates
       responded as follows.]

               A. No. I -- I'm not sure. I don't -- all I remember is the judge said I didn't
       really have to give a reason, but I went ahead and gave reasons, so -- I mean, I -- it
       -- to me it wasn't ever a racial -- a case that had any racial bias one way or the
       other, and it seemed like an odd thing to object on. But, you know, the -- y'all
       represent your client. You know, we certainly had no intent not to select
       minority jurors.

Yates Depo. T, p. 46 (emphasis added).

       b.         District Attorney Yates’ assertion that Randolph County had “five percent

minorities” is accurate. Page 27 of the State’s 19 April 2004 Kandies appellate brief filed in the

United States Court of Appeals for the Fourth Circuit states:

               According to the 2000 Census, Randolph County, North Carolina, has a
       total population of 130,454, which includes 7,342 citizens classified as Black or
       African American (i.e., Randolph County’s black population is approximately
       5.1% of its total population). See Addendum 1 hereto.

(Emphasis added). Please see Attachment 1 of Doc. 96 filed with the Court (a copy of the

census report).




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       XI.     FOR SOUND REASONS, THE COURT SHOULD
               DISREGARD THE 2 SEPTEMBER 2010 JOINT AFFIDAVIT
               OF TWO MICHIGAN STATE UNIVERSITY PROFESSORS,
               EXHIBIT I OF PETITIONER’S 8 SEPTEMBER 2010 BRIEF.

       18.     The 2 September 2010 affidavit presents merely a part of an interim report

submitted to support many Racial Justice Act (“RJA”) motions filed in North Carolina

state cases (see N.C.G.S. § 15A-2010, the RJA).

       a.      Appendix 1 hereto presents an extract of the motion filed by Petitioner in the 6

August 2010 “Motion for Appropriate Relief Pursuant to the Racial Justice Act.” As Petitioner

knows, this 46-page motion is approximately one inch thick and contains 19 exhibits that follow

page 46. The first exhibit is the 30 July 2010 affidavit of Michigan State University law

professors Catherine Grosso and Barbara O’Brien. The entire 6 August 2010 motion is not

attached because there appears to be no sound reason to present the voluminous motion in these

proceedings.

       b.      Appendix 2 hereto accurately confirms that 152 North Carolina death row inmates

have filed RJA motions in North Carolina state court and that the Conference of District

Attorneys is making efforts to provide District Attorneys assistance in handling the many

motions (e.g., assistance in gathering data, getting a statistical expert to analyze the study).

       19.     The 2 September 2010 affidavit presents incomplete information and

opinions that have not been evaluated by state district attorneys.

       a.      The first sentence of paragraph 4 of the affidavit concedes that the affidavit of

professors Grosso and O’Brien “presents [only] our initial findings with respect to the

peremptory strike study with reference to Randolph County.”



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       b.      The penultimate sentence of paragraph 4 of the affidavit concedes the significant

fact that the two affiants/professors “have had time to perform only some of the relevant

analyses.”

       c.      Appendix 2 hereto confirms that well-known fact that efforts are being taken to

evaluate and respond to the interim report prepared by professors Grosso and O’Brien.

       20.     The State denies all factual and legal allegations in the 2 September 2010,

except to the extent that they are uncontroverted (e.g., established in the record, or

admitted elsewhere in matters before the Court). More precisely, the State denies that (a)

Petitioner has been subject to or given a death sentence or will be executed pursuant to any

judgment sought or obtained on the basis of race, in violation of the RJA, (b) death sentences

were sought or imposed significantly more frequently upon persons of one race than upon

persons of another race, (c) any use of a peremptory challenge was made on the basis of race, (d)

sentences were sought or imposed significantly more frequently as punishment for capital

offenses against persons of one race than as punishment of capital offenses against persons of

another race, and, (e) any federal or state constitutional right has been violated by Petitioner

receiving a sentence of death.

       21.     As Petitioner knows, the forum for litigation of his RJA claims is the

Superior Court of Randolph County, not this federal court. See N.C.G.S. §§15A-2010-2012.

Under the RJA, Petitioner’s opportunity to raise his post conviction claim must comply with

procedures applicable for review of post conviction motions for appropriate relief as set out in

N.C.G.S. §§ 15A-1420, 15A-1421, and 15A-1422. See N.C.G.S. § 15A-2012(c).

       22.     In these habeas proceedings, Petitioner is now essentially relying on the RJA,


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which is a state statutory creation not mandated by the United States Constitution. See

McCleskey v. Kemp, 481 U.S. 279, 107 S. Ct. 1756, 95 L. Ed. 2d 262 (1987). Therefore, his

RJA claim does not present a cognizable federal habeas corpus claim in this Court. Estelle v.

McGuire, 502 U.S. 62, 67-68, 112 S. Ct. 475, 480, 116 L. Ed. 2d 385, 396 (1991) ("It is not the

province of a federal habeas court to reexamine state-court determinations on state-law questions.

In conducting habeas review, a federal court is limited to deciding whether a conviction violated

the Constitution, laws, or treaties of the United States."); Wright v. Angelone, 151 F.3d 151, 157

(4th Cir. 1998) ("It is black letter law that a federal court may grant habeas relief only on the

ground that [the petitioner] is in custody in violation of the Constitution or laws or treaties of the

United States.") (quotation marks omitted). Petitioner's argument rests solely upon North

Carolina statutory law, ergo, it is not cognizable on federal habeas review.

       23.     Petitioner failed to either develop or present in state court proceedings the

information he has submitted to this Court as Exhibit 1 of his 8 September 2010 brief. See

Rios-Lopez v. Wasden, 2009 U.S. Dist. LEXIS 28181 (D. Idaho Mar. 30, 2009)(in which the

Court agrees with argument “that Petitioner is not entitled to discovery or an evidentiary hearing

because he did not show diligence in trying to develop these facts in the state court proceeding”),

stating the following law equally applicable to Petitioner’s presentation of a recently drafted in-

complete report of two professors:

                If a petitioner wishes to bring new evidence on federal habeas review that
       has not been presented to the state courts, and he failed to develop the factual
       basis of the claims in state court because of "lack of diligence or some greater
       fault, attributable to" him or his counsel, then he must meet the requirements of
       [28 U.S.C.] § 2254(e)(2). Williams v. Taylor, 529 U.S. 420, 432, 120 S. Ct. 1479,
       146 L. Ed. 2d 435 (2000). If he is not at fault for not presenting the evidence to
       the state courts, then he can present the evidence on federal habeas corpus review


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       without meeting the requirements of § 2254(e)(2). Holland v. Jackson, 542 U.S.
       649, 652-53, 124 S. Ct. 2736, 159 L. Ed. 2d 683 (2004).

               The Williams v. Taylor Court explained what it means to fail to develop
       the facts in state court:

              The question is not whether the facts could have been discovered
              but instead whether the prisoner was diligent in his efforts. The
              purpose of the fault component of "failed" is to ensure the prisoner
              undertakes his own diligent search for evidence. Diligence for
              purposes of the opening clause depends upon whether the prisoner
              made a reasonable attempt, in light of the information available at
              the time, to investigate and pursue claims in state court; it does not
              depend, as the Commonwealth would have it, upon whether those
              efforts could have been successful.

       529 U.S. at 436.

              . . . .

               As a result of his failure to exercise diligence during the state court
       proceedings, if Petitioner wishes to introduce new evidence in this action, he must
       meet the standard of § 2254(e)(2) and show that his claims are based either on a
       new retroactive rule of constitutional law or on a factual predicate that could not
       have been previously discovered through the exercise of due diligence, and that
       "the facts underlying the claim would be sufficient to establish by clear and
       convincing evidence that but for the constitutional error, no reasonable factfinder
       would have found the applicant guilt of the underlying offense." See §
       2254(e)(2)(A)&(B). This Petitioner has not done.


2009 U.S. Dist. LEXIS 28181 at *3-10. Accord Fleming v. Glebe, 2010 U.S. Dist. LEXIS

95216 (W.D. Wash. Aug. 9, 2010)(denying request for an evidentiary hearing in habeas

proceeding because petitioner had not met requirements stated in 28 U.S.C. §2254(e)(2)).

       XII.   THE COURT SHOULD DISREGARD OPINIONS
              EXPRESSED BY ATTORNEYS IN EXHIBITS ATTACHED
              TO PETITIONER’S BRIEF.

       24.    The Order of 29 January 2009 (Doc. 105), at page 4, correctly assesses the



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situation presented by the affidavits. I.e., because Petitioner did “not desire to take the

deposition of Petitioner’s trial counsel,” the Court correctly concluded “that any issue concerning

the conclusory claim that the state trial prosecutor, Mr. Yates, had never selected a black juror

has become moot and will not be further considered as a ground for relief.”

       25.     The Court should give no weight to legal conclusions and related

observations stated by attorneys in Exhibits 9-12 attached to Petitioner’s Brief of 8

September 2010. In considering this argument, the Court is respectfully requested to follow the

sage reasoning of Judge Thornburg in Jackson v. United States, 638 F. Supp. 2d 514 (W.D.N.C.,

2009)(holding: the Court will exclude affidavits of attorneys), certificate of appealability denied,

2010 U.S. Dist. LEXIS 80944 (W.D.N.C., July 12, 2010), which includes the following

reasoning equally applicable to the attorney affidavits attached to Petitioner’s brief:

               Assuming the attorneys do qualify as experts, "testimony in the form of an
       opinion or inference otherwise admissible is not objectionable because it
       embraces an ultimate issue to be decided by the trier of fact." Fed. R. Evid.
       704(a). "'That said, an expert witness cannot give an opinion as to [his or] her
       legal conclusion; i.e., an opinion on an ultimate issue of law.'" Nationwide
       Transp. Fin. v. Cass Info. Sys. Inc., 523 F.3d 1051, 1058 (9th Cir. 2008) (quoting
       Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998, 1016 (9th Cir.
       2004)). "[O]pinion testimony that states a legal standard or draws a legal
       conclusion by applying law to the facts is generally inadmissible." United
       States v. McIver, 470 F.3d 550, 562 (4th Cir. 2006). That is precisely what each
       attorney has done in his or her affidavit by opining that trial counsel rendered
       ineffective assistance of counsel. As a result, the undersigned will exclude
       these affidavits. See, e.g., Newland v. Hall, 527 F.3d 1162, 1207 (11th Cir.
       2008) (affidavits from trial counsel and other attorneys regarding what constitutes
       effective assistance in capital cases are not dispositive and have little weight);
       United States v. Barile, 286 F.3d 749, 760 (4th Cir. 2002) (role of the district
       court is to distinguish opinion testimony that embraces the ultimate issue of
       fact from opinion that states a legal conclusion, that is, specialized legal
       meaning); United States v. Chapman, 209 F. App'x 253 (4th Cir. 2006) (district
       court did not err in excluding expert testimony concerning securities law), cert.
       denied, 550 U.S. 949, 127 S. Ct. 2286, 167 L. Ed. 2d 1117 (2007); McIver, 470

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       F.3d at 562 (collecting cases); DiBella v. Hopkins, 403 F.3d 102, 121 (2d Cir.
       2005) (testimony that defendant's conduct was extortion excluded); Archuleta v.
       Lemaster, 37 F. App'x 391, 393 (10th Cir. 2002) (expert testimony as to whether
       trial counsel provided ineffective assistance rejected as advising the court about
       the proper application of existing law to the facts and the ultimate issue of trial
       counsel's effectiveness); United States v. Wilson, 133 F.3d 251 (4th Cir. 1997)
       (district court should not have allowed expert opinion as to what the law means or
       how it is interpreted).

638 F. Supp. 2d at 527-28 (emphasis added).

       XIII. WHEN EVALUATING ALL MATTERS NOW BEFORE
             THE COURT, THE COURT SHOULD CONSIDER ALL
             CIRCUMSTANCES BEFORE THE COURT, THE
             LEGITIMATE CONCERNS OF THE STATE TO REACH A
             POINT OF FINALITY IN CRIMINAL PROSECUTIONS
             WITHOUT UNNECESSARY DELAY AND EXPENDITURE
             OF TIME, EFFORT, AND FUNDS.

       26.     When evaluating this argument, please consider all previous arguments and

authorities submitted to the Court supporting this position.

       a.      In particular, please note well that three officers of the Court (District Attorney

Yates, Assistant District Attorney Gregson, and former District Attorney Toomes) have made

unqualified assertions under oath (a) totally debunking Petitioner’s Batson claims, and, (b)

affirmatively asserting that in capital cases District Attorney Yates’ one goal during jury voir dire

has at all times been to obtain unbiased jurors who were not opposed to the death penalty.

       b.      Finally, in 2010, when evaluating the judgment of (a) the honorable jurist who

presided at Petitioner’s 1994 trial, (b) the honorable district attorney who prosecuted Petitioner

in 1994, and, (c) the honorable justices of the Supreme Court of North Carolina who

unanimously rejected Petitioner’s Batson claim in 1996, this Court is also respectfully requested

to consider the following relatively recent comments of the Supreme Court of Pennsylvania in



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Commonwealth v. Cook, 597 Pa. 572, 952 A.2d 594 (2008), that are equally applicable to the

case at bar:

                 [T]he trial court's decision on the ultimate question of discriminatory
        intent represents a finding of fact of the sort accorded great deference on
        appeal' and will not be overturned unless clearly erroneous." Miller-El v.
        Cockrell, 537 U.S. 322, 340, 123 S. Ct. 1029, 154 L. Ed. 2d 931 (2003) (quoting
        Hernandez v. New York, 500 U.S. 352, 364, 111 S. Ct. 1859, 114 L. Ed. 2d 395
        (1991) (plurality)); accord Wilson v. Beard, 426 F.3d 653, 668 (3d Cir. 2005).
        Such great deference is necessary "because a reviewing court, which analyzes only
        the transcripts from voir dire, is not as well positioned as the trial court is to make
        credibility determinations." Miller-El, 537 U.S. at 339. "There will seldom be
        much evidence bearing on" the "decisive question" of "whether counsel's
        race-neutral explanation for a peremptory challenge should be believed." Id.
        (quoting Hernandez, 500 U.S. at 365). "[T]he best evidence often will be the
        demeanor of the attorney who exercises the challenge. As with the state of
        mind of a juror, evaluation of the prosecutor's state of mind based on
        demeanor and credibility lies peculiarly within a trial judge's province." Id.
        (quoting Hernandez, 500 U.S. at 365) (internal quotation marks omitted); accord
        Batson, 476 U.S. at 98 n.21; Commonwealth v. Sneed, 587 Pa. 318, 899 A.2d
        1067, 1076 (Pa. 2006) (noting that "Batson contemplated a central role for the
        trial judge . . . in assessing the credibility of the neutral reasons for peremptory
        strikes proffered by the lawyer who exercised them"); Commonwealth v. (Aaron)
        Jones, 542 Pa. 464, 668 A.2d 491, 520 (Pa. 1995); Riley v. Taylor, 277 F.3d 261,
        278 (3d Cir. 2001) (noting that a trial judge's findings as to discriminatory intent
        are generally owed "even greater deference because only the trial judge can be
        aware of the variations in demeanor and tone of voice that bear so heavily on the
        listener's understanding of and belief in what is said") (internal quotation marks
        omitted); United States v. Casper, 956 F.2d 416, 419 (3d Cir. 1992).

                The clear error standard of review is all the more appropriate on
        collateral review when the Commonwealth faces an even heavier burden of
        production given that many years have passed since voir dire was conducted.
        As the Third Circuit has explained, "in light of the passage of time . . . it [i]s
        appropriate to lessen the burden of the Commonwealth" to explain its
        peremptory challenges in race-neutral terms. Wilson v. Beard, 426 F.3d 653,
        668 (3d Cir. 2005) (where twenty years had elapsed since trial).

597 Pa. at 587, 952 A.2d at 603 (emphasis added).      See also Smulls v. Roper, 535 F.3d 853 (8th

Cir. 2008), cert. denied, 129 S. Ct. 1905, 173 L. Ed. 2d 1061 (2009), stating, inter alia:



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          Smulls first argues that the Missouri trial court made no findings
 concerning the validity of the prosecutor's claimed race-neutral reasons for the
 strike, and therefore the court unreasonably applied federal law. Smulls fails to
 direct us to any Supreme Court case holding that the Constitution requires a
 trial court to make specific fact-findings in reviewing a Batson challenge. See
 Carey v. Musladin, 549 U.S. 70, 127 S. Ct. 649, 653, 166 L. Ed. 2d 482 (2006)
 ("'[C]learly established Federal law' in § 2254(d)(1) 'refers to the holdings, as
 opposed to the dicta, of [the Supreme] Court's decisions as of the time of the
 relevant state-court decision.'" (quoting Williams v. Taylor, 529 U.S. 362, 412,
 120 S. Ct. 1495, 146 L. Ed. 2d 389 (2000)). In fact, federal law has never
 required explicit fact-findings following a Batson challenge, especially where a
 prima facie case is acknowledged and the prosecution presents specific
 nondiscriminatory reasons on the record. See Miller-El I, 537 U.S. at 347 ("We
 adhere to the proposition that a state court need not make detailed findings
 addressing all the evidence before it."); see also McKinney v. Artuz, 326 F.3d 87,
 100 (2d Cir. 2003) ("Although reviewing courts might have preferred the trial
 court to provide express reasons for each credibility determination, no clearly
 established federal law required the trial court to do so."). A trial court's ruling
 on a Batson challenge is itself a factual determination, and we have repeatedly
 upheld rulings made without additional reasoning. See U.S. Xpress Enters., Inc.
 v. J.B. Hunt Transp., Inc., 320 F.3d 809, 814 (8th Cir. 2003) (concluding that the
 trial court engaged in "a full Batson analysis" where the objector made a Batson
 challenge, the proponent of the strike offered a race-neutral explanation, both
 parties were allowed to argue their positions, and the trial court granted the
 motion without making any specific findings, implicitly finding the proponent's
 reasons to be racially motivated); see also Wainwright v. Witt, 469 U.S. 412, 430,
 105 S. Ct. 844, 83 L. Ed. 2d 841 (1985) (upholding a state trial court's dismissal
 of a juror for cause and noting "that the judge was [not] required to announce for
 the record his conclusion that [the] juror . . . was biased, or his reasoning" because
 the finding was evident from the record).

         We do not read the Supreme Court's most recent case addressing
 Batson to hold otherwise. See Snyder v. Louisiana, 128 S. Ct. 1203, 170 L. Ed.
 2d 175 (2008). In Snyder, the Court refused to presume that the trial court
 credited the prosecutor's representation that he struck the challenged juror based
 on the juror's demeanor because the trial court had made no determination
 concerning the juror's demeanor. Id. at 1209. But, a number of factors led the
 Court to that conclusion. First, the trial court in Snyder did not state whether it
 based its ruling on the first proffered reason (claimed nervousness on the part of
 the juror), the second reason (other pressing time constraints--student teaching
 responsibilities), or on both, and the Court was unwilling to assume the trial court
 relied on the first reason when the Court found that the second reason did not
 stand up to scrutiny under the deferential standard. Id. at 1209, 1212. Notably,


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 the Court applied the deferential standard to the second proffered reason, which it
 found lacking, even though the trial court made no findings concerning the second
 reason other than allowing the strike. Id. at 1209. Second, the Court rejected the
 second reason offered by the prosecutor, leaving the juror's alleged nervousness as
 the only potentially valid basis for the strike, and there was no evidence in the
 record that the prosecutor would have pre-emptively challenged the juror based on
 his nervousness alone. Id. at 1212. Third, the Court rejected the second reason
 for the strike because it was "highly speculative" and because the same reasoning
 would have applied with more force to specific white jurors, whom the prosecutor
 did not strike. Id. at 1211-12. Despite the reversal of the trial court in Snyder,
 the Court continues to "recognize[] that . . . determinations of credibility and
 demeanor lie peculiarly within a trial judge's province," and, "in the absence
 of exceptional circumstances, [the Court will] defer to the trial court." Id. at
 1208 (internal marks omitted). In our case, both proffered reasons withstand
 scrutiny, as discussed in more detail infra, such that we are not left to surmise
 whether one of the two reasons alone would support the strike as
 nondiscriminatory. There is no evidence here that the prosecutor's proffered
 reasons applied with greater force to white jurors who were not struck; in fact, the
 prosecutor used the same reasons--occupation and demeanor--to strike a white
 juror. In any event, Snyder was not clearly established law at the time of the
 state courts' rejection of Smulls' Batson claim and cannot provide the basis
 for habeas relief under § 2254(d)(1). See Williams, 529 U.S. at 412.

         In a related context involving the dismissal of jurors for cause who are
 "substantially impaired" in their ability to impose the death penalty, the Supreme
 Court recently explained that "there is no requirement in a case involving the
 Witherspoon-Witt rule that a state appellate court make particular reference to the
 excusal of each juror. It is the trial court's ruling that counts." Uttecht, 127 S. Ct.
 at 2228 (internal citations omitted). Here, by denying the Batson challenge, the
 trial court implicitly found that the prosecution's proffered
 nondiscriminatory reasons were credible. No further fact-finding was
 required. The absence of additional findings is certainly not a misapplication of
 clearly established Supreme Court precedent as required for relief under §
 2254(d)(1).

         Nor does the trial court's failure to make explicit findings relieve this
 court of its obligation to view the state trial court's findings as presumptively
 correct [footnote 3: Snyder, which was a direct appeal from the Supreme
 Court of Louisiana, does not change the respect owed to state court findings
 as mandated by AEDPA. On review of a direct appeal, the Supreme Court is not
 bound by the presumption of correctness required by § 2254(e)(1).] or empower
 us to order the federal district court to reconstruct the record. [footnote 4: As
 recently noted by the Supreme Court, such a remand, more than a decade later,


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       would be futile. See Snyder, 128 S. Ct. at 1212 ("Nor is there any realistic
       possibility that this subtle question of causation could be profitably explored
       further on remand at this late date, more than a decade after petitioner's trial."). ]
       Prior to AEDPA, the presumption of correctness was contained in § 2254(d),
       which listed eight exceptions to the presumption. See 28 U.S.C. § 2254(d)
       (1994), amended by Antiterrorism & Effective Death Penalty Act of 1996, Pub.
       L. No. 104-132, § 104(4), 110 Stat. 1214, 1219 (1996). AEDPA's amendments to
       § 2254 "jettisoned . . . [the] situations which previously swept aside the
       presumption." Valdez v. Cockrell, 274 F.3d 941, 949 (5th Cir. 2001), cert.
       denied, 537 U.S. 883, 123 S. Ct. 106, 154 L. Ed. 2d 141 (2002). "The
       presumption of correctness erected in its place at § 2254(e)(1), now simply
       provides that unless the petitioner can rebut the findings of fact through
       clear and convincing evidence, those findings of fact are presumed to be
       correct." Id.; see also Miller-El I, 537 U.S. at 358-59 (Thomas, J., dissenting)
       ("Section 2254(e)(1) does not, as its predecessor did, create exceptions to factual
       deference for procedural infirmities. . . . Section 2254(e)(1) simply cannot be read
       to contain an implied sliding scale of deference.") (noting that the majority
       opinion does not appear to conflict with this view). Thus, regardless of the extent
       of the evidence considered by the state trial court, we may reject the trial court's
       factual findings only if those findings are proven incorrect "by clear and
       convincing evidence." § 2254(e)(1); see also Hall v. Luebbers, 341 F.3d 706, 713
       (8th Cir. 2003) ("Each step of the Batson inquiry involves a factual determination
       entitled to a presumption of correctness unless overcome by clear and convincing
       evidence."), cert. denied, 541 U.S. 996, 124 S. Ct. 2031, 158 L. Ed. 2d 505
       (2004). Our suggestions to federal trial judges that they are well advised to
       articulate their findings concerning the validity of the prosecutor's asserted
       race-neutral reasons, see, e.g., Hopson v. Fredericksen, 961 F.2d 1374, 1378 (8th
       Cir. 1992) ("We strongly suggest . . . that trial judges [addressing a Batson
       challenge] make an on-the-record ruling stating their reasoning with appropriate
       references to the underlying facts as they determine them to be."), are, of course,
       not binding on state court judges. We therefore will presume the trial court's
       fact-findings to be correct unless Smulls can present "clear and convincing
       evidence" otherwise. § 2254(e)(1).

535 F.3d at 859-62 (emphasis added).

       c.       Importantly, please see Doc. 15, p. 8 (distinguishing Snyder), hereby incorporated

by reference.




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                                        CONCLUSION

       27.    Petitioner has not carried his heavy burden and matters of record show that

his Batson claim was not unreasonably rejected by the Supreme Court of North Carolina.

Accordingly, upon reconsideration, the Court should again reject Petitioner’s Batson claim.

       VERY RESPECTFULLY submitted this 28th day of September 2010.

                                            ROY COOPER
                                            Attorney General

                                            /s/ Edwin W. Welch
                                            Edwin W. Welch
                                            Special Deputy Attorney General
                                            Counsel for Respondent
                                            N.C. Bar # 5208

                                            North Carolina Department of Justice
                                            Post Office Box 629
                                            Raleigh, North Carolina 27602
                                            Phone: 919-716-6577
                                            FAX: 919-716-0001
                                            ewelch@ncdoj.gov




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on 28 September 2010, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the

following:

       Mr. M. Gordon Widenhouse, Jr.
       mgwidenhouse@rwf-law.com

       Ms. Shelagh R. Kenney
       shelagh@cdpl.org

       attorneys for Petitioner.


                                             ROY COOPER
                                             Attorney General

                                             /s/ Edwin W. Welch
                                             Edwin W. Welch
                                             Special Deputy Attorney General




cc:    District Attorney Garland N. Yates, 19-B Prosecutorial District
       Randolph County Office




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